
PER CURIAM.
Appellant, pursuant to Fla.R.App.P. 9.140(g), having taken this appeal from the summary denial of his motion for post conviction relief under Fla.R.Crim.P. 3.850 and this court having considered the record presented and having further determined that it conclusively appears therefrom that appellant is entitled to no relief, the denial of his motion is affirmed. Washington v. State, 397 So.2d 285 (Fla.1981); Knight v. State, 394 So.2d 997 (Fla.1981); Shannon v. State, 406 So.2d 87 (Fla. 1st DCA 1981); Harvin v. State, 385 So.2d 119 (Fla. 3d DCA 1980); Rogers v. State, 362 So.2d 1031 (Fla. 3d DCA 1978).
